                Case 2:11-cr-20005-PKH Document 79                           Filed 12/21/11 Page 1 of 6 PageID #: 241
 b'AO 2458        (Rev.09/08)Judgrnentin a Criminal Case
                  SheetI



                                                    UuIrnn SraresDrsrnrcrCoURT
                            WESTERN                                  Districtof                            ARKANSAS
            UNITED STATESOF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                   v.
          A LEJANDROLOPEZ.PLACENCIA                                         CaseNumber:                    2:l 1CR20005-003
                                                                            USM Number:                    I 0356-0
                                                                                                                  I0
                                                                            RobertC. Marquefte
                                                                            Defendant'sAttomey
THE DEFENDANT:
X pleadedguilty to count(s)                Four (4) of the In4ictmenton May 18,2011

I pleadednolo contendereto count(s)
  which was acceptedby the court.
I was foundguilty on count(s)
  aftera pleaof not guilty.

                          guilty ofthese offenses:
The defendantis adjudicated

Title & Seetiqn                        Nature qf Offense                                                   OffenseEnded       Count

2 l U . S . C$.8 a l ( a ) ( la) n d   Possession
                                                with Intentto DistributeMore than500 Gramsof                t2/05/2010         4
(bXlXAXviii);I I U.S.C.                Methamphetamine; Aiding and Abetting
   ')
.q
v +




      The defendantis sentencedas providedin pages2 through              of thisjudgment. The sentenceis imposedwithin the
statutoryrangeandthe U.S. SentencingCuidelineswereconsideredas advisory.

! The defendanthasbeenfound not guilty on count(s)

X Coun(s)                              O n e( l )           X is     n are dismissedon the motionof the United States.

         It is orderedthatthe defendantmustnotifv theUnitedStatesattomeyfor this districtwithin 30 davsof anv chanseof name.residence.
or mailingaddress  until all fines,restituti_o-n,.costs,
                                                   hndspecialassessmentsimposedby thisjudgmentarefully paid.'If ordEredto payiestitution,
the defen-dant  mustnotify the coutt andUnited Siatesarttomey of materialcliangesiir ecofiom-ic
                                                                                              circumstarici:s.

                                                                            December19.20I I
                                                                            Dateof Imposition01'Judgmcnt



                                                                        r,//S/ Robert T. Dawson
                                                                            SignaturoofJudge




                                                                            HonorableRobertT. Dawson.SeniorUnitedStatesDistrictJudse
                                                                            Nameand Title of Judge


                                                                              tJ - p l - l l




          ,#r
              Case 2:11-cr-20005-PKH Document 79                           Filed 12/21/11 Page 2 of 6 PageID #: 242
AO 2458       (Rcv. 09/08)Judgmcntin Criminal Casc
              Sheet2 - lmurisonmont

                                                                                                      Judgment-   Page      o   f   6
DEFENDANT:                      ALEJANDRO LOPEZ-PLACENCIA
CASENUMBER:                     2:l1CRZ0005-003


                                                                IMPRISONMENT

        The defendantis herebycommittedto the custodyof the UnitedStatesBureauof Prisonsto be imprisonedfor a
total termof;     120months




  X       The courtmakesthe following recommendations to the Bureauof Prisons:
          The defendantbe allowed to participate in a substanceabusetreatment program.




 X        The defendantis remandedto the custodvof the UnitedStatesMarshal.

 tr   The defendantshallsurrenderto the United StatesMarshalfor this district;

          trat                                       I   a.m.    tr p.m.      on

          !     asnotifiedby the United StatesMarshal.

                 shallsunenderfor serviceofsentence
      The defendant                               at the institution
                                                                   designated
                                                                            by theButeauofPrisons;

                beforeI p.m.on

      n         as notifiedby the United StatesMarshal.

      n         asnotifiedby the Probationor PretrialServicesOffice.



                                                                    RETURN
I haveexecutedthisjudgmentas follows:




      Defendantdeliveredon

                                                         with a certifiedcopy of thisjudgment.



                                                                                                    UNITED S'TATESMARSHAL



                                                                           By
                                                                                                 DEPUTYUNITEDSTATESMARSHAI,
               Case 2:11-cr-20005-PKH Document 79                                                      Filed 12/21/11 Page 3 of 6 PageID #: 243

AO 2458        (Rev.09/08)Judgmentin aCriminal Case
               Sheet3 - SupervisedRelease
                                                                                                                                                   Judgment-Page _.            3       of
DEFENDANT:                            ALEJANDROLOPEZ-PLACENCIA
CASENUMBER:                           2:l1CR20005-003
                                                    SUPERVISED RELBASE

                            the defendantshallbe on supervisedreleasefor a term of:
Upon releasefrom imprisonment,                                                                                                                 five (5) years



       Thedefendant  mustreportto the probationoflice in thedistrictto which the defendantis releasedwithin 72 hoursof releasefromthe
custodyof the Bureauof Prisoris.
The defendantshallnot commitanotherfederal.stateor localcrime.
The defendantshallnot unlawfullv Dossess                         a controlledsubstance.The defendantshallrefrainfrom any unlawful useof a controlled
s u b s t a n c eT.h e d e f e n d a n t s hsaul lb i n i t t o o n e d r u g t e s t w i t hli5nd a y s o f r e l e a s e f r o m i m p r i s o n m e n t a n d a t l e a s t f w o p e r i o d i c d r u g t c s t s
thereafter,    as determinedby the couft.
il        The abovedrugtestingconditionis suspended,                                   that the defendantposesa low risk of
                                                       basedon the coult's determination
                         abus5. (c hec
          future substanc-e          k,tl appticaBle.1

X         The defendantshallnot possess                                                          weapon. (Check,
                                      a firearm,ammunition,destructivedevice,or any otherdangerous            f applicable.)

X         The defendantshallcooperatein the collectionof DNA as directedby the probationofficer. (:hecl7rfapplicable.)

          The defendantshallcomnlv with the requirements   of the SexOffenderResistrationandNotificationAct (42 U.S.C.$ 16901,et seq.)
lJ        as directedby tlre probatioirofficer,theBureauof Prisons,or any statesex=offender registrationagencyin which he or sheresides,-
          works,rs a student,or was convlctedot a qualltylngotlense. (Chetk. iJapplicable.)

n         The defendantshallparticipatein an approvedprogramfor domesticviolence. (check,
                                                                                       iJ'applicabre.l
      lf thisjudgmentimposesa.fineor restitution,it is a conditionof supervised
                                                                              releasethat the defendantpay in accordance
                                                                                                                       with the
       of Payments
Schedule          sheetbfthisjudgment.
         Thedefendantmustcomplywith the standardconditionsthathavebeenadoptedby thiscourtaswell aswith anyadditionalconditions
on the attachedpage.

                                                    STANDARD CONDITIONS OF SUPERVISION
     l)    the defendantshallnot leavethejudicial districtwithoutthe permissionof the couft or probationofficer;
     2)    the defendantshallreportto the probationofficer in a mannerand frequencydirectedby the courtor probationofficer.
     3)    the defendantshallanswertruthfully all inquiriesby the probationofficer and follow the instructionsof the probationofficer;
     4)                                                 and meetotherfamily responsibilities;
           the defendantshallsupporthis or her dependents
     5)    the defendantshallwork regularlyat a lawful occupation,unlessexcusedby the probationofficer for schooling,training,or other
           acceptablereasons;
     6)    the defendantshallnotify the probationofficer at leastten daysprior to any changein residenceor employment;
     7)    the defendantshallrefrainfrom excessiveuseofalcohol and shallnot purchase,possess,
                                                                                            use,distribute,or administerany
           controlledsubstanceor any paraphemalia                                  exceptas prescribedby a physician;
                                                 relatedto any controlledsubltances,
     8)    the defendantshallnot frequentplaceswherecontrolledsubstances  areillegally sold,used,distributed,or administered;
     e)                                  with any persensengagedin_c_riminal
           the defendantshallnot associate                                                                with any personconvictedof a
                                                                            activity and shallnot associate
           felony,unlessgrantedpermissionto do 5o'bythe probaiionofficer;
 l0)       the defendantshallpermita probationofficer to visit him or her at anytime at homeor elsewhereandshallpermitconfiscationof any
           contrabandobservedin plain view of the probationofficer;
 I l)      thedefendantshallnotifr the probationofficer within seventy-twohoursofbeing arrestedor questionedby a law enforcement
                                                                                                                              officer;
 r2)       the defendantshall not enterinto any agreementIo act as an infonneror a specialagentof a law enforcementagencywithout the
           permissionof the court;and

 l3)       asdirectedbv the nrobationofficer,the defendantshallnotifuthird partiesofrisks thatmay be occasionedbythe defendant'scriminal
                                                        and shall penirit the'probationofficer to make such notificationsand to confirm the
           iecord oi nlisona] filitorv or characteristics
           defendant*s compliancewith suchnotificationrequirem'ent.
           Case 2:11-cr-20005-PKH Document 79                            Filed 12/21/11 Page 4 of 6 PageID #: 244

AO 2458        (Rev.06/05)Judgmentin a Criminal Case
               Sheet3C - SupervisedRelease
                                                                                                       Judgment-Page           of   -_.6-
DEFENDANT:                   A LEJANDROLOPEZ-PLACENCIA
CASENUMBER:                  2:11CR20005-003

                                          SPBCIAL CONDITIONS OF SUPERVISION


          L          In addition to the mandatory drug testing rcquircmcnts,thc dct'cndantshall comply with any ref'erraldcemcd appropriatcby
                     the U.S. Probation Officer f61 inlpaticnior out-patient'evaluation,treatment,coirnselingoriesting fbr substanie'abi"rse.

          2.         Thc dcfendantshall submit his nerson.residence.ulace of emnlovment. and vchiclc to a searchconducted by the United
                     StatesProbation Office at a reaionable timc and iri a reasonablemannei basedupon reasonablesuspicionof'evidence of
                     violation of anv condition o I sunervisedrelcase.Thc dcfendantshall warn anv other residcntsthat their prcmises may bc
                     subiect to searchpursuantto this condition. Iiailure to submit to a scarch mav bc srounds for rcvocatiori
             Case 2:11-cr-20005-PKH Document 79                                                          Filed 12/21/11 Page 5 of 6 PageID #: 245

AO 24511      (Rev.09/08)Judgmentin a Criminal Case
              Sheet5 - CrirninalMonetaryPenaltics
                                                                                                                                                Judgment-        Page _l_                of    _6_
DEFENDANT:                                    ALEJANDROLOPEZ-PLACENCIA
CASENUMBER:                                   2:l1CR20005-003
                                                    CRIMINAL MONETARY PENALTIES

     The defendantmustpay the total criminal monetarypenaltiesunderthe scheduleof paymentson Sheet6,


                          Assessment                                                              Fine                                                  Restitution
TOTALS                  $ 100.00                                                                $ 2.500.00                                            $ -0-


I    The determination
                     of restitutionis defeneduntil                                              An AmendedJudgmentin a Criminal Case(AO245C) will be entered
     aftersuchdetermination.

n    The defendantmustmakerestitution(includingcommunityrestitution)to the following payeesin the amountlistedbelow.

     If the defendantmakesa partialpavment,eachpayeeshallreceivean approximatelyproportionedpayment,unlessspecifiedotherwisein
     t h e _ p r i o r i t y o r d e r . o r p e r c e n t a g e i r a y m e n t c o l u n iH
                                                                                            n boewl e
                                                                                                    o vwe. r , p u i d u a n t t o l S - U , S . C . g 3 6 6 a ( i n) ,oanl lf e d e r va il c t i m s m u s t b e p a i d
     beftlrethe UnitedStetesis paid.'

Nameof Pavee                                                   Total Loss*                                     RestitutionOrdered                                        Prioritv or Percentage




TOTALS


tr    Restitutionamountorderedpursuantto pleaagreement$

!    The defendantmustpay intereston restitutionand a fine of morethan$2,500,unlessthe restitutionor fine is paid in full beforethe
     fifteenthdayafterthe dateof thejudgment,pursuant  to l8 U.S,C.$ 3612(0. All of thepaymentoptionson Sheet6 may be subject
     to penalties
                for delinquencyanddefault,pursuantto l8 U.S.C.$ 3612(g).

X    The courtdeterminedthat the defendantdoesnot havethe ability to pay interestand it is orderedthat;

     X      the interestrequirementis waivedfor the                              X       fine      !      restitution.

     tr     the interestrequirementfor the                        n      fine        !      restitutionis modifiedas follows;



+ Findingsfor thetotalamountof lossesarerequiredunderChaptersI 09A, I I 0, I l0A, and I l3A of Title I I for offensescommittedon or after
Septemb*er 13,1994,but beforeApril 23, 1996.
          Case 2:11-cr-20005-PKH Document 79                        Filed 12/21/11 Page 6 of 6 PageID #: 246
AO 2458   (Rev.09/08)Judgmentin a Criminal Casc
          Sheet6 - Schcduleof Pavments

                                                                                                Judgrnent-   Page _JL    of
DEFENDANT:                ALEJANDRO   LOPEZ-PLACENCIA
CASENUMBER:               2:I I CR20005-003

                                                  SCHEDULE OF PAYMENTS

Havingassessed
             the defendant'sability to pay,paymentof the total criminalmonetarypenaltiesaredue as follows;

A    X    Lump sumpaymentof $          2,600.00         dueimmediately,
                                                                     balancedue

          !    not laterthan                               ,Qr
          X    in accordance         tr C, tr D,       n     E,or fiFbelow;or
B    !    Paymentto beginimmediately(may be combinedwith           n C,       ! D, or     I F below);or

C    n    Paymentin equal                (e.9.,weekly,monthly,quarterly)installmentsof $                   overa periodof
                     (e.g.,monthsor years),to commence             (e.g.,30 or 60 days)afterthe dateof thisjudgment;or

D    n         in equal
          Payment                        (e,g.,weekly,monthly,quarterly)installments
                                                                                   of $                  over a periodof
                     (e.g.,monthsor years),to conrmence         _ (e.g.,30 or 60 days)afterreleasefrom imprisonmentto a
          term0t Supervlsron;
                            or

     I    Paymentduringthe term of supervisedreleasewill commencewithin              (e.g.,30 or 60 days)afterreleasefrom
          imprisonment.The courtwill setthe paymentplan basedon an assessment
                                                                           of the defendant'sability to pay at that time; or

     X    Specialinstructionsregardingthe paymentof criminalmonetarypenalties;

                                anv unnaidtlnancialnenaltvimnosedshallbe oaiddurinsthe periodof incarceration
          If not naidimmediately.                                                                             at a rateof not lc'ss
          than$25,00ouarterly.-orl0%ofthedefendani'souhnerlvearninss.wliichcveris"ercatcr.   Afterincarceration.anvunoaidfinancial
                                                                                      "monthlv
          nenaltyshallbecomea snecialconditionof suucruised rcleaseanclriravbe naidin        installments
                                                                                                        of not'lesithah t0% of thc
          ilef'endant's
                      netmonthlyhouseholdincome,.but in no casclessthan$ {00.0'0permonth,with the entirebalanceto be paidin f'ullonc
          montnDrlorto thetenxlnatlonoI suDcrvlsecl
                                                  release.


Unlessthecourthasexpresslyorderedotherwise.ifthis iudsmentimnosesimurisonment.
                                                                            uavmentof criminalmonetarvnenaltiesis duedurins
imprisonment. All criminal monetarypenaltieq,excdptThosepaymentsmadethroufh the FederalBureauof Prildns' Inmate Financia'l
Re'sponsibility
             Program,aremadeto the clerk of the coirn.

The defendantshallreceivecreditfor all paymentspreviouslymadetowardany criminalmonetarypenaltiesimposed.




!    Jointand $everal

     DefendantandCo-Defendant Narnesand CaseNumbers(includingdefendantnumber),Total Amount,Jointand SeveralAmount,
                    payee,if appropriate.
     andcorresponding




tr   The defendantshallpay the costofprosecution.

!    The defendantshallpay the following courtcost(s):

tr   The defendantshallforfeit the defendant'sinterestin the following propertyto the UnitedStates;




Payments  shallbe appliedin the followingorder;(l) assessment, (2) restitution                               (4) fine principal,
                                                                             principal,(3) restitutioninterest,
(51fine interest,(6)'cbmmunityrestitution",
                                         (7) perialties,and(8)'cbsts,includingcostbf iioiecution and courtcobti.
